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               IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


 900 TC SAVANNAH HOLDINGS, LLC,

       Plaintiff,

 V.                                          CASE NO. CV421-302


 BPR POOLER, LLC,

       Defendant.




                                ORDER


      Before the Court is Plaintiff 900 TC Savannah Holding, LLC's

Complaint. {Doc. 1.) The Court finds the jurisdictional allegations

contained in the complaint are insufficient to establish complete

diversity between the parties. Accordingly, Plaintiff is DIRECTED to

file within fourteen days from the date of this order an amended

complaint that lists the members of Plaintiff and Defendant BPR

Pooler, LLC, and their citizenships.

      Plaintiff contends this Court has diversity jurisdiction over

the case pursuant to 28 U.S.C. § 1332. (Doc. 1 at 5 4.) ""The party

seeking to invoke a federal forum traditionally bears the burden of

persuasion   on   jurisdictional    issues   such   as   establishing    the

citizenship of the parties." Life of the S. Ins. Co. v. Carzell, 851

F.3d 1341, 1344 (11th Cir. 2017) (citations omitted). The Eleventh

Circuit has held that ^'a limited liability company is a citizen of

any state of which a member of the company is a citizen." Rolling

Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022
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(11th Cir. 2004). To properly allege the citizenship of an LLC, ""a

party must list the citizenships of all the members of the limited

liability       company[.]"     Id.     at   1022.       Furthermore,       the    general

allegation      that   no    member    of    an   LLC    is   a   Georgia    citizen       is

insufficient for a plaintiff to carry its burden of establishing

complete diversity between the parties. See Toms v. Country Quality

Meats, Inc., 610 F.2d 313, 316 (5th Cir. 1980) (^'[W]hen jurisdiction

depends    on    citizenship,         citizenship       should    be   distinctly         and

affirmatively alleged.") (citations and quotations omitted)).^

     Here,       Plaintiff      has     failed      to     adequately       allege        the

citizenships of its and Defendant's members. With respect to its

citizenship, the complaint merely states that ^'Plaintiff[] is a

Delaware    limited    liability company           with    its    principal       place   of

business at 50 S Steele Street, Suite 200, Denver, CO 80209," (Doc.

1 at SI 2.) With respect to Defendant, the complaint states that

^^Defendant[] is       a    Georgia    limited liability          company[]       with    its

principal place of business located at 111 Greenview Drive, Savannah,

Georgia, 31405." (Id. at SI 3.) Plaintiff's complaint does not include

a list of its or Defendant's individual members, along with their

citizenships. As a result, the information in Plaintiff's complaint

is insufficient to establish complete diversity. Accordingly, the




^ In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
1981), the Eleventh Circuit adopted as binding precedent all
decisions of the former Fifth Circuit handed down prior to October
1, 1981.
                                             2
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Court DIRECTS Plaintiff to file an amended complaint within fourteen

days from the date of this order listing all of its and Defendant's

members and their citizenships.^ Failure to do so will result in

dismissal of this case for lack of subject matter jurisdiction.
                           iO
     so ORDERED this ^i^^day of October 2021.


                                 WILLIAM T. MOORE, Jjr
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA




2 The Court will not accept any amended complaint that incorporates
by reference any factual allegation or argument contained in an
earlier filing. Plaintiff's amended complaint should be a stand
alone filing that independently contains all the factual allegations
necessary to establish diversity between the parties.
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